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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

     Andy Cheal,
                                 Plaintiff,

     v.                                                   Case No. 1:25-cv-04329

                                                          District Judge Mary M. Rowland
 John Doe,
                                                          Magistrate Judge Jeffrey T. Gilbert
                                 Defendant.




 PLAINTIFF’S NOTICE REGARDING IDENTIFICATION OF DEFENDANT AND REQUEST
              FOR COURT TO CONSIDER MATTER ON THE PAPERS




Plaintiff Andy Cheal respectfully submits this notice to confirm for the Court the information

previously filed on the docket identifying the defendant in this matter.



On April 21, 2025, Plaintiff filed a sealed document (Dkt. No. 10), which is Exhibit 2 to the

Declaration of Andy Cheal (Dkt. No. 9). This sealed document contains the identifying information

for the Defendant, which is an e-commerce store on Amazon. Although Plaintiff refers to this e-

commerce store throughout its filings as John Doe, the name of the Amazon store appears in Exhibit

2.



Plaintiff respectfully requests that the Court kindly consider this submission when reviewing the

issue of Defendant identification. Plaintiff remains prepared to address this matter at a status hearing
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if the Court deems it necessary but respectfully submits that the issue may be resolved through

consideration of Exhibit 2 as Plaintiff hopes the Court will consider its motion for a temporary

restraining order without possibly unnecessary delay.




 Dated: April 23, 2025     Respectfully submitted,




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